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10
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11   UNITED STATES OF AMERICA
12                       UNITED STATES DISTRICT COURT
13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                              WESTERN DIVISION
15   UNITED STATES OF AMERICA, )     Case No. 2:21-CV-03396
                               )
16            Plaintiff,       )     VERIFIED COMPLAINT FOR FORFEITURE
                               )
17                 v.          )     18 U.S.C. § 981(a)(1)(A) and (C) and
                               )     984 and 21 U.S.C. § 881(a)(6)
18   ALL FUNDS IN HANG SANG    )
     BANK ACCOUNT NUMBER       )     [DEA/IRS]
19   774528186883 AND SITUATED )
     IN HONG KONG,             )
20                             )
              Defendant.       )
21                             )
22
23
24
25
          Plaintiff United States of America brings this claim
26
     against defendant All Funds In Hang Sang Bank Account Number
27
     774528186883 And Situated In Hong Kong, and alleges as follows:
28
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1                            JURISDICTION AND VENUE
2         1.    Plaintiff United States of America brings this in rem
3    forfeiture action pursuant to 18 U.S.C. § 981(a)(1)(A) and (C)
4    and 984 and 21 U.S.C. § 881(a)(6).
5         2.    This Court has jurisdiction over the matter under 28
6    U.S.C. §§ 1345 and 1355.
7         3.    Venue lies in this district pursuant to 28 U.S.C.
8    § 1395.
9                             PERSONS AND ENTITIES
10        4.    The plaintiff in this action is the United States of
11   America.
12        5.    The defendant in this action is All Funds In Hang Sang
13   Bank Account Number 774528186883 And Situated In Hong Kong (the
14   “defendant bank funds”).     Hang Sang Bank Account Number
15   774528186883 (the “6883 Account”) is a business checking account
16   held by Mare Dey Import and Export Trading Co. and owned and
17   controlled by Hong Zeng.
18        6.    The interests of Mare Dey Import and Export Trading
19   Co. and Hong Zeng may be adversely affected by these
20   proceedings.
21                            BASIS FOR FORFEITURE
22        7.    Beginning in 2015, law enforcement officers conducted
23   an investigation of a money laundering/drug trafficking
24   conspiracy whose members included Jorge Hugo Zavala-Lopez
25   (“Zavala”), Abel Bustamante-Duran also known as Prieto
26   (“Bustamante”), Hong Zeng also known as Alondra China (“Zeng”),
27   Marco Antonio Mendez-Guzman aka Acelerin (“Mendez”), Rafael Omar
28   Cruz-Valedon aka Parce (“Cruz”), an individual whose first and

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1    last name are unknown and is also known as Alvarez (“Alvarez”),
2    Erick Giovanny Garcia also known as Juanito (“E. Garcia”), Diana
3    Quiroz Garcia (“D. Garcia”), Juan Carlos Arreola and Ramon
4    Antonio Lopez-Llamas (“Lopez”). 1     As part of the conspiracy, the
5    above-mentioned co-conspirators conducted concealment money
6    laundering transactions within the United States, in violation
7    of 18 U.S.C. § 1956(a)(1)(B)(i), conducted concealment money
8    laundering transactions by transferring funds from a place in
9    the United States to a place outside the United States (namely,
10   China and Mexico), in violation of 18 U.S.C. § 1956(a)(2)(B)(i)
11   and conducted monetary transactions in criminally derived
12   property having a value in excess of $10,000.00, in violation of
13   18 U.S.C. § 1957.
14        8.    The objects of the conspiracy were accomplished, in
15   substance, as follows:
16              a.   Zavala and Bustamante would identify bulk cash
17   drug proceeds in United States currency generated from the sale
18   of drugs in the United States to be repatriated back to the
19   sellers of the drugs in Mexico, China and elsewhere, and would
20   offer commissions to others (the “money laundering contracts”)
21   who would be able to transmit the proceeds to the foreign drug
22   sellers.
23              b.   Zavala and Bustamante would direct those who
24   accepted the money laundering contracts to retrieve United
25   States Currency in the United States and deliver the equivalent
26
27        1 The investigation led to the filing on September 8, 2020
     of an indictment against the above-referenced co-conspirators.
28   See United States of America v. Zavala-Lopez, Bustamante-Duran,
     Hong Zeng, et al., Case No. CR 2:20-cr-00405-FMO.
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1    amount, less a commission (i) to couriers in Los Angeles (so the
2    couriers could arrange for the transfer of the funds overseas);
3    or (ii) via wire either to a United States bank account so that
4    the funds could then be wired to a bank account in a foreign
5    country or directly to a bank account in a foreign country.
6              c.    Zavala and Bustamante would provide those who
7    accepted the money laundering contracts with telephone numbers,
8    code phrases and serial numbers from dollar bills, which items
9    were to be used to contact couriers and confirm identities.
10             d.    Cruz, Alvarez, D. Garcia and others would act as
11   couriers and intermediaries to deliver bulk cash drug proceeds
12   on behalf of Zavala and Bustamante, in connection with the money
13   laundering contracts.
14             e.    Mendez, E. Garcia, Arreola, Lopez and others
15   would act as couriers and intermediaries to accept delivery of
16   bulk cash drug proceeds in Los Angeles on behalf of Zavala and
17   Bustamante, in connection with the money laundering contracts.
18             f.    Zeng would use bank accounts she controlled in
19   the name of Mare Dey Import and Export Trading Co. to accept
20   deposits constituting drug proceeds, in connection with the
21   money laundering contracts offered by Zavala or Bustamante, for
22   the purpose of concealing the nature, source, ownership and
23   control of the proceeds.
24        9.   The Zeng accounts to which the drug proceeds were
25   transferred consisted of the 6883 Account and another account
26   which, like the 6883 Account, was owned and controlled by Zeng,
27   was situated in Hong Kong, and was in the name of Mare Dey
28   Import and Export Trading Co.      The second account was Hongkong

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1    and Shanghai Banking Corporation Limited account number
2    817818321838 (the “HSBC 1838 Account”).        The 6863 Account and
3    the HSBC 1838 account are hereinafter collectively referred to
4    as the “Zeng Accounts.”
5         10.   During the investigation, law enforcement officers
6    intercepted telephone conversations among the co-conspirators in
7    which the co-conspirators used coded language, and the substance
8    of some of those conversations, as well as other activities the
9    co-conspirators engaged in furtherance of their illegal
10   activities, are set forth below.
11   October 2015 Dallas Money Laundering Contract
12        11.   On or about October 14, 2015, during a telephone
13   conversation, Bustamante offered a money laundering contract to
14   collect approximately $70,000.00 in drug proceeds in Dallas,
15   Texas to an individual whom Bustamante believed to be a money
16   launderer but who was, in fact, a confidential informant
17   (“Broker A”) working for the Drug Enforcement Administration
18   (the “DEA”).
19        12.   During a telephone conversation on or about October
20   14, 2015, Bustamante sent Broker A the telephone number of a
21   Dallas based money courier who would be delivering the drug
22   proceeds and a code phrase.
23        13.   On or about October 15, 2015, a co-conspirator, on
24   behalf of Bustamante, delivered $70,000.00 concealed inside a
25   clock radio box in Dallas to an undercover law enforcement agent
26   posing as Broker A’s associate.
27        14.   During a telephone conversation on or about October
28   19, 2015, Bustamante provided Broker A the telephone number of

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1    Mendez as the Los Angeles based courier to whom Broker A should
2    deliver the drug proceeds.
3         15.   On or about October 20, 2015, during a telephone
4    conversation, Mendez instructed an undercover law enforcement
5    agent, posing as Broker A’s associate, to deliver the funds to
6    Mendez inside a package that was not see-through.
7         16.   On or about October 20, 2015, Mendez accepted $68,600
8    in Los Angeles from an undercover law enforcement agent posing
9    as Broker A’s associate.
10   October 2015 Detroit Money Laundering Contract
11        17.   During a telephone conversation on or about October
12   27, 2015, Bustamante offered Broker A a money laundering
13   contract to collect approximately $400,000.00 in drug proceeds
14   in Detroit, Michigan, and provided to Broker A the telephone
15   number of the money courier who would be delivering the funds.
16        18.   On or about October 29, 2015, a co-conspirator, at the
17   behest of and on behalf of Bustamante, delivered $398,970.00
18   concealed inside a nylon sleeve and a shoebox to a confidential
19   informant working for law enforcement and posing as Broker A’s
20   associate.
21        19.   During a telephone conversation on or about November
22   1, 2015, Bustamante provided Broker A the telephone number of
23   Mendez as the Los Angeles-based courier to whom Broker A should
24   deliver the drug proceeds.
25        20.   On or about November 2, 2015, during a telephone
26   conversation, Mendez instructed an undercover law enforcement
27   agent posing as Broker A’s associate to deliver the funds to
28   Mendez inside something dark or inside a box.

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1         21.    On or about November 2, 2015, Mendez accepted
2    $390,990.00 representing drug proceeds inside a FedEx package in
3    Los Angeles from an undercover law enforcement agent posing as
4    Broker A’s associate.
5         22.    On or about November 2, 2015, Mendez drove from Los
6    Angeles to the Phoenix, Arizona area with the FedEx package he
7    had accepted earlier that day; the next day, a $300,000.00 cash
8    deposit was made into a Scottsdale, Arizona bank account held by
9    a co-conspirator (“Co-conspirator 1”).
10        23.    On or about November 27, 2015, Co-conspirator 1 caused
11   $200,000.00 in drug proceeds to be sent via wire transfer to the
12   6883 Account.
13        24.    On or about November 30, 2015, Co-conspirator 1 caused
14   $153,803.06 in drug proceeds to be sent via wire transfer to the
15   6883 Account.
16        March 2016 Boston Money Laundering Contract
17        25.    During a telephone conversation on or about March 11,
18   2016, Bustamante offered Broker A a money laundering contract to
19   collect approximately $350,000.00 in drug proceeds in Boston,
20   Massachusetts, and provided to Broker A the telephone number of
21   a Boston based money courier who would be delivering the drug
22   proceeds.
23        26.    On or about March 13, 2016, during a telephone
24   conversation, Bustamante asked Broker A to open a WhatsApp
25   account so that Bustamante could send Broker A account
26   information for the bank accounts to which Broker A should wire
27   transfer the drug proceeds to be picked up in Boston, to which
28   Broker A provided to Bustamante a WhatsApp account represented

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1    to belong to the individual in charge of wiring funds on behalf
2    of Broker A, but that was, in fact, being used by an undercover
3    law enforcement agent posing as Broker A’s associate (the “UC
4    WhatsApp Account”).
5         27.   On or about March 14, 2016, Alvarez, at the behest of
6    and on behalf of Bustamante, delivered $330,020.00 in drug
7    proceeds, which were vacuum-sealed inside plastic bags, in
8    Boston to an undercover law enforcement agent posing as Broker
9    A’s associate.
10        28.   On or about March 15, 2016, in multiple WhatsApp
11   messages, Bustamante sent to the UC WhatsApp Account the account
12   information for the Zeng Accounts.
13        29.   On or about March 16, 2016, in a WhatsApp message,
14   Bustamante sent to the UC WhatsApp Account instructions to wire
15   transfer the drug proceeds delivered in Boston evenly to the two
16   Zeng Accounts.
17        30.   During a telephone conversation on or about March 16,
18   2016, Bustamante requested from Broker A confirmation that funds
19   had been transferred to the two Zeng Accounts so that
20   individuals in Hong Kong would provide Bustamante with chemical
21   precursors used to manufacture drugs.
22        31.   On or about March 18, 2016, Zeng accepted wire
23   transfers in the amounts of $158,409.60 and $158,409.60 to the
24   two Zeng Accounts (i.e., that equal sum was wired to the 6863
25   Account and the HSBC 1838 account) from an undercover bank
26   account controlled by the DEA.      Accordingly, the $330,000.00
27   delivered in Boston on or about March 14, 2016 and mentioned
28   above was wired, less Broker A’s commission, to the Zeng

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1    Accounts with a total of $316,819.20 ($158,409.60 + $158,409.60)
2    received on or about March 18, 2016 in the Zeng Accounts.
3    March-April 2016 Boston Money Laundering Contract
4       32.    During a telephone conversation on or about March 21,
5    2016, Bustamante offered to an undercover law enforcement agent
6    working for the DEA, who Bustamante believed to be the leader of
7    Broker A’s money-laundering organization (“UC-1”) a money-
8    laundering contract to collect approximately $280,000.00 in drug
9    proceeds in Boston, Massachusetts, and told UC-1 that the funds
10   needed to be wire transferred to Hong Kong.
11      33.    On or about March 23, 2016, in a WhatsApp message,
12   Bustamante provided to UC-1 the telephone number of Cruz as the
13   money courier who would be delivering the drug proceeds.
14      34.    On or about March 24 and 25, 2016, during telephone
15   conversations, Cruz told UC-1 that Cruz worked for Mexican drug
16   traffickers who sent him cocaine to deliver in Boston, sold
17   between 15 and 20 kilograms of cocaine per week, sent
18   approximately $5 million in drug proceeds to Mexico each month
19   from drug sales in Boston, and asked UC-1 if UC-1 could supply
20   Cruz with cocaine to sell.
21      35.    On March 31, 2016, Cruz and Alvarez met in Boston with
22   UC-1 and an undercover DEA agent posing as UC-1’s associate
23   (“UC-2”); Cruz and Alvarez told UC-1 and UC-2 that Cruz and
24   Alvarez distributed cocaine on behalf of two Mexican cartels and
25   that they received cocaine in 15- to 20-kilogram shipments and
26   divided the cocaine between each other for further distribution,
27   and offered to pay $30,000 per kilogram for cocaine if UC-1
28   could supply Cruz and Alvarez with cocaine for sale.

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1       36.     On March 31, 2016, Alvarez delivered $269,999.00 in
2    drug proceeds in Boston to UC-2.
3       37.     On or about April 2, 2016, in a WhatsApp message,
4    Bustamante instructed UC-1 to wire transfer the funds to the
5    HSBC 1838 Account.
6       38.     On April 7, 2016, Zeng accepted the wire transfer of
7    $259,199.40 to the HSBC 1838 Account.
8    May-July 2016 Dallas Money Laundering Contracts
9         39.   During a telephone conversation on or about May 26,
10   2016, Bustamante offered to UC-1 a money laundering contract to
11   collect drug proceeds in Dallas, Texas and provided to UC-1 the
12   telephone number of a Dallas based money courier who would be
13   delivering the drug proceeds.
14        40.   On or about June 2, 2016, after $160,000.00 in drug
15   proceeds were delivered by Bustamante’s Dallas-based courier to
16   an undercover law enforcement agent posing as UC-1’s associate,
17   Bustamante sent a WhatsApp message to UC-1 with instructions to
18   wire transfer the money picked up in Dallas to four bank
19   accounts controlled by Co-conspirator 1.
20        41.   On or about June 6, 2016, law enforcement agents wire
21   transferred a total of $156,000 to accounts controlled by Co-
22   conspirator 1, who subsequently wire transferred a total of
23   $257,000.00 to the Zeng Accounts.
24        42.   During a telephone conversation on or about June 9,
25   2016, Bustamante offered UC-1 a money-laundering contract to
26   collect approximately $250,000.00 in drug proceeds in Dallas,
27   Texas and provided to UC-1 the telephone number of a Dallas
28   based money courier who would be delivering the drug proceeds.

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1         43.   On or about June 13, 2016, after $250,020.00 in drug
2    proceeds were delivered by Bustamante’s courier to an undercover
3    law enforcement agent posing as UC-1’s associate, Bustamante
4    sent a WhatsApp message to UC-1 with instructions to wire
5    transfer the money picked up in Dallas to four bank accounts
6    controlled by Co-conspirator 1.
7         44.   On or about June 17, 2016, after law enforcement
8    agents wire transferred a total of $244,900.00 to accounts
9    controlled by Co-conspirator 1, Co-conspirator 1 wire
10   transferred $188,349.00 to one of the Zeng Accounts.
11        45.   On or about July 13, 2016, Zavala contacted UC-1 via
12   WhatsApp and offered a money laundering contract to move
13   approximately $120,000.00 in Dallas.       Zavala passed the
14   undercover officer a code and telephone number.
15        46.   On or about July 18, 2016, another undercover officer
16   called the telephone number and eventually retrieved $109,000.00
17   from a courier.
18        47.   On or about July 22, 2016 and at the direction of
19   Zavala, law enforcement officers wired from a law enforcement
20   undercover bank account to the 6883 Account a total of
21   $104,640.00 ($109,000.00 less the laundering commission).
22   June 2016 Boston Money Laundering Contract
23        48.   On or about June 9, 2016, Bustamante offered UC-1 a
24   money laundering contract to retrieve approximately $200,000.00
25   in Boston.   Bustamante provided UC-1 with the telephone number
26   of a Boston courier and a passphrase to coordinate the exchange.
27   Another undercover officer supplied the passcode to the user of
28   the telephone with the telephone number provided by Bustamante,

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1    and the undercover officer eventually retrieved the money from
2    the courier.
3         49.   On or about June 22, 2016 and at Bustamante’s
4    direction, law enforcement officers wired from a law enforcement
5    undercover bank account to the 6883 Account a total of
6    $192,000.00 ($200,000.00 less the laundering commission).
7    May-July Communications Involving Bustamante, Zavala and Zeng
8         50.   On or about May 26, 2016, Bustamante forwarded UC-1 a
9    WhatsApp message containing an inquiry from the Hong Kong-based
10   HSBC 1838 Account with questions regarding funds previously
11   transferred to that account from an undercover law enforcement
12   account.
13        51.   On or about June 3, 2016, Bustamante provided UC-1
14   with a Chinese telephone number used by Zeng so that UC-1 could
15   contact Zeng directly regarding the bank inquiry.
16        52.   On or about June 3, 2016, in WhatsApp messages, Zeng
17   informed UC-1 that she needed answers to the Hong Kong-based
18   bank’s inquiries to prevent closure of the HSBC 1838 Account.
19        53.   On or about June 28, 2016, in WhatsApp messages, Zeng
20   requested UC-1’s assistance in transferring money between the
21   United States and China, as well as within the United States,
22   for Zavala, and provided UC-1 with a telephone number for
23   Zavala.
24        54.   During a telephone conversation on or about June 28,
25   2016, Zavala informed UC-1 that Zavala was Zeng’s associate and
26   that the money laundering contracts that UC-1 had previously
27   accepted from Bustamante had, in fact, originated with Zavala.
28        55.   On or about June 28, 2016, during a telephone

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1    conversation, Zavala offered UC-1 future money contracts in the
2    United States and explained that funds for the money laundering
3    contracts were wire-transferred to shell accounts set up by Co-
4    conspirator 1 and then transferred to Hong Kong bank accounts
5    held by Zeng.
6         56.   On or about July 6, 2016, after Zavala shared Co-
7    conspirator 1’s contact information with UC-1, Co-conspirator 1
8    informed UC-1 that he could set up shell corporations for UC-1
9    and would charge a commission for his services.
10        57.   During a telephone conversation on or about July 7,
11   2016, Zavala told UC-1 that Zavala had an associate in Mexico
12   who could obtain chemicals used to manufacture drugs and that he
13   had an associate who could supply cocaine that was 93% pure for
14   approximately $23,000 per kilogram.
15        58.   On or about July 16, 2016, in a meeting in Thailand,
16   Zeng informed UC-1 and UC-2 that Zeng wanted to avoid problems
17   with bank transactions by limiting the amounts of transactions
18   and confirmed with UC-1 and UC-2 that the money she was
19   accepting on behalf of Zavala and Bustamante in the bank
20   accounts she controlled represented drug proceeds.
21        59.   On or about July 26, 2016, in a meeting in Los
22   Angeles, California, Zavala discussed with UC-1, UC-2, and a
23   confidential informant working for the DEA posing as UC-1’s
24   transportation coordinator (“Coordinator A”), a potential money-
25   laundering contract to transfer approximately $1 million from
26   Los Angeles to Bogota, Colombia.
27        60.   On or about July 26, 2016, in a meeting in Los
28   Angeles, California, Zavala discussed with Coordinator A

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1    potential future transactions to transport and distribute
2    cocaine and other drugs from Los Angeles to other cities in the
3    United States.
4    August 2016 El Segundo, California Money Laundering Contract
5         61.    On or about August 24, 2016, in WhatsApp messages,
6    Zavala offered UC-1 a money-laundering contract to collect drug
7    proceeds in Los Angeles, California and provided to UC-1 the
8    California driver’s license of D. Garcia, who Zavala identified
9    as the Los Angeles-based money courier who would be delivering
10   the drug proceeds.
11        62.    On or about August 24, 2016, D. Garcia called the
12   telephone number of an undercover law enforcement agent posing
13   as UC-1’s associate and attempted to arrange the delivery of the
14   drug proceeds.
15        63.    On or about August 24, 2016, in El Segundo,
16   California, D. Garcia delivered $99,480.00 in drug proceeds to
17   an undercover law enforcement agent posing as UC-1’s associate.
18        64.    On or about August 25, 2016, in a WhatsApp message,
19   Zavala instructed UC-1 to wire transfer the funds to several
20   bank accounts controlled by Co-conspirator 1, which funds
21   totaling $96,480.00 ($99,480.00 less a $3,000.00 commission)
22   were subsequently transferred to accounts controlled by Co-
23   conspirator 1 as instructed.
24        65.    On or about August 30, 2016, Co-conspirator 1 caused
25   $48,556.09 to be sent via wire transfer to a bank account.
26        66.    On or about September 2, 2016, Co-conspirator 1 caused
27   $49,901.97 to be sent via wire transfer to one of the Zeng
28   Accounts.

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1    Background Regarding The Illegality Of Engaging In Money
2    Transmitting Without A License
3         67.   18 U.S.C. § 1960 makes it a crime to knowingly
4    conduct, control, manage, supervise, direct or own all or part
5    of an unlicensed money transmitting business.         In addition, 18
6    U.S.C. § 981(a)(1)(A) renders subject to forfeiture any property
7    involved in a transaction or attempted transaction in violation
8    of 18 U.S.C. § 1960, or any property traceable to such property.
9         68.   Pursuant to 18 U.S.C. § 1960(b)(1), an unlicensed
10   money transmitting business is defined as one which affects
11   interstate or foreign commerce in any manner or degree and (a)
12   is operated without an appropriate license in a state, such as
13   California, where such operation is punishable under state law,
14   whether or not the transmitter knew that the operation was
15   required to be licensed; (b) is not in compliance with the money
16   transmitting business registration requirements under 31 U.S.C.
17   § 5330 (which requires that money transmitting businesses be
18   registered with the Secretary of the Treasury), or the
19   regulations promulgated thereunder; or (c) otherwise involves
20   the transportation or transmission of funds that are known by
21   the transmitter to have been derived from a criminal offense or
22   are intended to be used to promote or support unlawful activity.
23   Money transmitting is defined as transferring funds on behalf of
24   the public by any and all means including, but not limited to
25   transfers within the United States or to locations abroad by
26   wire, check, draft, facsimile or courier.
27        69.   As set forth above, the defendant bank funds was
28   transmitted or attempted to be transmitted on behalf of a third

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1    party by Bustamante and Zavala and received by Zeng.          However,
2    neither Bustamante, Zavala nor Zeng during the time of the
3    operative events set forth above were authorized to function as
4    a money transmitting business under state law or federal law by
5    the Secretary of the Treasury.
6         70.   Nevertheless Bustamante, Zavala and Zeng knowingly
7    conducted, controlled, managed, supervised, directed and owned
8    an unlicensed money transmitting business affecting interstate
9    and foreign commerce: (a) having failed to obtain an appropriate
10   money transmitting license under State law; (b) having failed to
11   comply with the money transmitting business registration
12   requirements under 31 U.S.C. § 5330, and the regulations
13   prescribed thereunder; and (c) having knowingly transported or
14   transmitted funds derived from a criminal offense or which were
15   intended to be used to promote or support unlawful activity.
16                           FIRST CLAIM FOR RELIEF
17        71.   Plaintiff incorporates the allegations of paragraphs
18   1-70 above as though fully set forth herein.
19        72.   Based on the above, plaintiff alleges that the
20   defendant bank funds represents or is traceable to proceeds of
21   illegal narcotic trafficking, was intended to be used in one or
22   more exchanges for a controlled substance or listed chemical, or
23   was used or intended to be used to facilitate a controlled
24   substance or listed chemical violation, in violation of 21
25   U.S.C. § 841 et seq.     The defendant bank funds is therefore
26   subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6). In
27   addition, to the extent that the defendant bank funds is not the
28   actual monies directly traceable to the illegal activity

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1    identified herein, plaintiff United States of America alleges
2    that the defendant bank funds is identical property found in the
3    same account or place as the property involved in the specified
4    offense, rendering the defendant bank funds subject to
5    forfeiture pursuant to 18 U.S.C. § 984.
6                           SECOND CLAIM FOR RELIEF
7         73.   Plaintiff incorporates the allegations of paragraphs
8    1–70 above as though fully set forth herein.
9         74.   Based on the above, plaintiff alleges that the
10   defendant bank funds constitutes or is derived from proceeds
11   traceable to a controlled substance or listed chemical
12   violation, a specified unlawful activity as defined in 18 U.S.C.
13   §§ 1956(c)(7)(A) and 1961(1)(D).         The defendant bank funds is
14   therefore subject to forfeiture pursuant to 18 U.S.C.
15   § 981(a)(1)(C). In addition, to the extent that the defendant
16   bank funds is not the actual monies directly traceable to the
17   illegal activity identified herein, plaintiff United States of
18   America alleges that the defendant bank funds is identical
19   property found in the same account or place as the property
20   involved in the specified offense, rendering the defendant bank
21   funds subject to forfeiture pursuant to 18 U.S.C. § 984.
22                           THIRD CLAIM FOR RELIEF
23        75.   Plaintiff incorporates the allegations of paragraphs
24   1-70 above as though fully set forth herein.
25        76.   Based on the above, plaintiff alleges that the
26   defendant bank funds constitutes property involved in multiple
27   transactions or attempted transactions in violation of 18 U.S.C.
28   § 1956(a)(1)(B)(i) or 18 U.S.C. § 1956(a)(2)(B)(i), or property

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1    traceable to such property, with the specified unlawful activity
2    being a controlled substance or listed chemical violation.           The
3    defendant bank funds is therefore subject to forfeiture pursuant
4    to 18 U.S.C. § 981(a)(1)(A).      In addition, to the extent that
5    the defendant bank funds is not the actual monies directly
6    traceable to the illegal activity identified herein, plaintiff
7    United States of America alleges that the defendant bank funds
8    is identical property found in the same account or place as the
9    property involved in the specified offense, rendering the
10   defendant bank funds subject to forfeiture pursuant to 18 U.S.C.
11   § 984.
12                          FOURTH CLAIM FOR RELIEF
13        77.   Plaintiff incorporates the allegations of paragraphs
14   1-70 above as though fully set forth herein.
15        78.   Based on the above, plaintiff alleges that the
16   defendant bank funds constitutes property involved in multiple
17   transactions or attempted transactions in violation of 18 U.S.C.
18   § 1957(a), or property traceable to such property, with the
19   specified unlawful activity being a controlled substance or
20   listed chemical violation.      The defendant bank funds is
21   therefore subject to forfeiture pursuant to 18 U.S.C.
22   § 981(a)(1)(A).    In addition, to the extent that the defendant
23   bank funds is not the actual monies directly traceable to the
24   illegal activity identified herein, plaintiff United States of
25   America alleges that the defendant bank funds is identical
26   property found in the same account or place as the property
27   involved in the specified offense, rendering the defendant bank
28   funds subject to forfeiture pursuant to 18 U.S.C. § 984.

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1                            FIFTH CLAIM FOR RELIEF
2         79.   Plaintiff incorporates the allegations of paragraphs
3    1-70 above as though fully set forth herein.
4         80.   Based on the above, plaintiff alleges that the
5    defendant bank funds constitutes or is derived from proceeds
6    traceable to violations of 18 U.S.C. § 1960 (illegal money
7    transmitting business), which is a specified unlawful activity
8    as defined in 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(B).           The
9    defendant bank funds is therefore subject to forfeiture pursuant
10   to 18 U.S.C. § 981(a)(1)(C). In addition, to the extent that the
11   defendant bank funds is not the actual monies directly traceable
12   to the illegal activity identified herein, plaintiff United
13   States of America alleges that the defendant bank funds is
14   identical property found in the same account or place as the
15   property involved in the specified offense, rendering the
16   defendant bank funds subject to forfeiture pursuant to 18 U.S.C.
17   § 984.
18                           SIXTH CLAIM FOR RELIEF
19        81.   Plaintiff incorporates the allegations of paragraphs
20   1-70 above as though fully set forth herein.
21        82.   Based on the above, plaintiff alleges that the
22   defendant bank funds constitutes property involved in multiple
23   transactions or attempted transactions in violation of 18 U.S.C.
24   § 1956(a)(1)(B)(i) or 18 U.S.C. § 1956(a)(2)(B)(i), or property
25   traceable to such property, with the specified unlawful activity
26   being violations of 18 U.S.C. § 1960 (illegal money transmitting
27   business).   The defendant bank funds is therefore subject to
28   forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).          In addition,

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1    to the extent that the defendant bank funds is not the actual
2    monies directly traceable to the illegal activity identified
3    herein, plaintiff United States of America alleges that the
4    defendant bank funds is identical property found in the same
5    account or place as the property involved in the specified
6    offense, rendering the defendant bank funds subject to
7    forfeiture pursuant to 18 U.S.C. § 984.
8                           SEVENTH CLAIM FOR RELIEF
9         83.   Plaintiff incorporates the allegations of paragraphs
10   1-70 above as though fully set forth herein.
11        84.   Based on the above, plaintiff alleges that the
12   defendant bank funds constitutes property involved in multiple
13   transactions or attempted transactions in violation of 18 U.S.C.
14   § 1957(a), or property traceable to such property, with the
15   specified unlawful activity being violations of 18 U.S.C. § 1960
16   (illegal money transmitting business).        The defendant bank funds
17   is therefore subject to forfeiture pursuant to 18 U.S.C.
18   § 981(a)(1)(A).    In addition, to the extent that the defendant
19   bank funds is not the actual monies directly traceable to the
20   illegal activity identified herein, plaintiff United States of
21   America alleges that the defendant bank funds is identical
22   property found in the same account or place as the property
23   involved in the specified offense, rendering the defendant bank
24   funds subject to forfeiture pursuant to 18 U.S.C. § 984.
25        WHEREFORE, plaintiff United States of America prays:
26        (a)   that an arrest warrant in rem in the form submitted
27   with this Verified Complaint for Forfeiture be issued to the
28   Attorney General of the United States or his duly authorized

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